       Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 1 of 22



                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF IOWA
                               CENTRAL DIVISION



 MARK BITZAN and CASSANDRA
 ZENT,
                                                         No. 4:15-cv-00219-JAJ-CFB
                  Plaintiffs,

 vs.

 JERRY BARTRUFF, et al.,                                          ORDER

                  Defendants.


       Plaintiffs Mark Bitzan, an inmate at the Iowa State Penitentiary (“ISP”) and his
mother, Cassandra Zent, a private citizen living in Casper,Wyoming, brought this action
pro se under 42 U.S.C. § 1983, claiming that Defendants1 in the Iowa Department of
Corrections (“IDOC”) violated their First Amendment and due process rights when prison
officials refused to send mail relating to investing in marijuana distribution companies on
behalf of Bitzan, or refused to deliver mail sent by Zent to Bitzan. Bitzan also claims
prison officials retaliated against him for exercising his First Amendment rights, through
threats of disciplinary action or interference with his mail, as a result of other litigation or
potential claims he was pursuing against these Defendants. Defendants move for summary
judgment, and Plaintiffs, now represented by counsel, resist. The Court rescinds the order
referring this case for report and recommendation, and the Court grants the motion for
summary judgment.
I.     SUMMARY JUDGMENT STANDARD
       Summary judgment shall be granted “if the movant shows that there is no genuine


       1
         Plaintiffs stipulated to dismissal of Defendants Roberts, Schierbrock, and Johnson. (ECF
43-2, at 12). They are dismissed. See Fed. R. Civ. P. 41(a)(2).
      Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 2 of 22



dispute as to any material fact and the movant is entitled to judgment as a matter of law.”
Fed. R. Civ. P. 56(a). The burden of proving there is no genuine dispute of material fact
lies with the moving party. Davis v. Jefferson Hospital Ass’n, 685 F.2d 875, 680 (8th Cir.
2012). On a motion for summary judgment, the Court views the facts in the light most
favorable to the non-moving party. Nelson v. Corr. Med. Servs., 583 F.3d 522, 525 (8th
Cir. 2009). Once the moving party has made a sufficient showing, the burden shifts to the
non-moving party to set forth specific facts that there is a genuine dispute as to a material
fact. Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986). The nonmoving party must
present evidence sufficient for a reasonable jury to return a verdict in its favor. Patel v.
U.S. Bureau of Prison, 515 F.3d 807, 812 (8th Cir. 2008); see also Matsushita Elec.
Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986).
II.    CLAIMS AND DEFENSES
       Discerning the scope of the claims and defenses was made difficult by the parties’
lack of organization, lack of index, incomplete table of contents to their appendices, lack
of tabs, or failure to cite with specificity to the portions of the record they relied upon. It
is not the Court’s job to parse though hundreds of pages of material in hopes of stumbling
across a fact that relates to a claim or defense. Additionally, the parties’ references to
material in the appendices are not always accurate, or are described in sweeping
generalities, which required the court to closely examine the exhibits and material in the
appendices in order to ascertain what the item referred to actually contained, or whether
the reference was to an entirely different document. Plaintiffs filed a Statement of Material
Facts (ECF 43-1), which is a response to Defendants’ statement of facts, with the addition
of certain allegations, rather than a separate statement of Additional Material Facts.
Defendants did not respond to the additional facts which Plaintiffs included in their
Statement of Material Facts, so those facts are deemed admitted pursuant to LR 56(d).
Having pleadings appropriately identified would have enabled easier tracking of the source
of certain information referred to in briefs.

                                                2
      Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 3 of 22



       Counsel are put on notice that such disorganization is not acceptable. Dispositive
motions are designed to secure the just, speedy, and inexpensive determination of the
action, not an exercise in throwing something against a wall and see what might stick. The
same is true of the need to state claims that are clear, focused, and identify a particular
Defendant’s actions.
       The Amended Complaint does not identify specific claims made against individual
Defendants, but based on the Court's review of the Complaint and Amended Complaint,
the parties and claims remaining are:
1.     First Amendment and Due Process claims by Bitzan, against all Defendants,
       relating to interference with Bitzan's outgoing mail to certain companies, and
       threats to Bitzan of disciplinary action if he does not stop seeking investment
       information from companies, or persists in sending memos to staff concerning the
       basis for denial of his outgoing mail. Bitzan claims he suffered money damages due
       to the lost opportunity to invest in certain stocks;
2.     First Amendment and Due Process claims by Bitzan and Zent, against all
       Defendants, relating to rejection of Zent's incoming mail to Bitzan, when she sent
       photocopies of information about companies to Bitzan. Zent claims that threats of
       disciplinary action against Bitzan has restricted her communications with him. Zent
       claims that she lost money by not investing in certain stocks due to the inability to
       get Bitzan's guidance on stock purchases;
3.     Bitzan and Zent also allege certain staff threatened them with retaliation
       (interference with other incoming mail, or disciplinary reports against Bitzan) due
       to their exercise of their First Amendment rights on the issue of stock purchases.
       For example, Zent claims that certain books or other media she purchased for
       Bitzen were not delivered, and that she spent money to photocopy sections of a
       book that was rejected; and
4.     Plaintiffs claim that they were retaliated against by all Defendants, through ongoing
       interference with their mail, due to their grievances and complaints to prison official
       relating to their First Amendment claims concerning Bitzan's attempt to contact
       jurors, and his correspondence to Zent on this issue. Plaintiffs' claim that rejection
       of the letters to jurors, and the disclosure to prosecutors of the letters to jurors, and
       refusal to send the outline of Bitzan's legal analysis on his post-conviction relief
       action to Zent was in retaliation by Defendants. Although this issue was assigned
       to the instant case in the Second Initial Review Order, both parties addressed it in
       Bitzan v. Baldwin, 4-15-186, and it will be ruled upon in that case.


                                               3
       Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 4 of 22



Plaintiffs claim money damages in the expenses of sending and receiving mail that was
rejected by ISP staff, compensatory damages for emotional distress, nominal damages, and
punitive damages. Plaintiffs seek injunctive and declaratory relief, requesting that Bitzan
be allowed to directly invest in stocks, or use his mother as his stockbroker, and that their
mail or other correspondence with each other be delivered.
       Defendants argue:
1.     Neither Plaintiffs' First Amendment rights were violated, as the IDOC and prison
       regulations relating to screening and rejecting mail are legitimately related to a
       government need, particularly as to correspondence regarding the manufacture or
       distribution of marijuana in any form, and there were no Due Process violations in
       application of the policies;
2.     Defendants did not retaliate against either Plaintiff for their exercise of First
       Amendment rights because all mail rejected was for a legitimate reason pursuant to
       a valid policy with appropriate due process;
3.     Bitzan does not have a constitutional right to have grievance resolved in his favor;
4.     Bitzan did not suffer any physical injury, so he is not entitled to money damages
       pursuant to 42 U. S. C. § 1997e(e); and
5.     Defendants are entitled to qualified immunity from claims of money damages, as
       their actions did not violate any constitutional rights of the Plaintiffs.

III.   SUMMARY OF MATERIAL FACTS
       The Court has painstakingly reviewed the record and summarizes the following
relevant facts, viewing the record in the light most favorable to the nonmoving parties. The
Court was required to spend hours closely scrutinizing the record to discern what actions
by which Defendants were the subject of Plaintiffs' claims, and to interpret how the
defenses raised applied to certain facts, because the parties have not clearly and concisely
pled their case or referred to specific portions of the record. The claims relate to Bitzan's
incoming mail from Zent, and his outgoing mail to certain companies, and ongoing
handling of Bitzan's mail at ISP:
A.     Issues related to outgoing mail from Bitzan to five companies
       The letters sent by Bitzan to five companies in January 2014 are identical, and state


                                             4
      Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 5 of 22



that he is interested in learning more about each company, and investing with them. The
letters disclose that Bitzan does not have access to the Internet or email, and asks how
"someone could make some potential investments [in your company] . . . ." Bitzan also
asks if the company requires a minimum initial investment; whether the company has the
capability for an investor to make direct investments; and whether an investment firm or
broker is required, and if so, which one. Bitzan states that he is asking for information
regarding how to invest with each company, "so I can determine whether it is even
possible for someone in my situation to invest with you." (ECF 32-3, pp. 77-84).
       In none of the letters does Bitzan state he is seeking information on behalf of his
parents or anyone else. There were no attachments to these letters. The companies Bitzan
wrote to are: Cannabis Sciences, Inc., San Diego, CA; Sionix Corp., Silver Springs, MD;
Medical Marijuana, Inc., Colorado Springs, CO; Nuvilex, Inc., Houston, TX; and Silver
Bull Resources, Inc., Vancouver, BC.
       After a review of these letters by ISP mailroom staff, they were rejected, and
returned to Bitzan, with an ISP form: "Notice of Rejection of Outgoing Correspondence,"
dated February 3, 2014. This form contains a list of reasons these letters are deemed to
be undeliverable; only one reason was selected on the form: "Other: attempt to violate
institutional rules & involves subject matter that's illegal in Iowa." (ECF 32-3, p.76). The
form stated that the staff person responsible for this decision was N. Eaves.
       Defendant VanWye, an Investigator at ISP, also reviewed the letters, and affirmed
the decision to reject this correspondence. In the course of making this decision, on
January 30, 2014, Van Wye emailed Warden Ludwick and Rebecca Bowker to advise them
of his decision to reject these letters, which he described as sent to "4 different legal
marijuana distributors," because Bitzan was asking whether he would be able to invest with
them. In his email to Defendants Ludwick and Bowker, VanWye stated that he told
mailroom staff to reject the letters, and return them to Bitzan, because VanWye believed
that these letters violated the following prison disciplinary rules: 16(d): Unauthorized

                                             5
      Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 6 of 22



possession/exchange; 34: Contracts, business; and 43: Attempt to conduct a business or
form a contract. In this email VanWye indicated that he based his decision on the fact that
in the letters Bitzan stated that he was the one making the investments, and does not state
that he was seeking information for anyone else. VanWye, in the email to Bowker and
Ludwick, notes that he was advising them of this Notice of Rejection of Correspondence
to Bitzan "in case you disagreed." (ECF 32-3 p. 85). There is nothing in the record as to
any further response or discussion between VanWye and Ludwick or Bowker on the
decision to reject Bitzan's outgoing mail to these companies.
       The decision to reject these five letters resulted in a flurry of appeals, memos,
O-mails,2 and kites from Bitzan to various prison officials, most of whom are defendants
in this action, and responses from officials: Bitzan first sent a series of Offender Memos,
or kites, expanding upon his reasons for seeking information from these companies, and
pointing out to staff that all the companies are publicly traded and it legal to own stock in
them, and that only some of the companies were involved in distribution of medical
marijuana in states where it is legal to do so. These kites were addressed either to the
Warden's Office, Business Office, or the Mail Room staff:
1.     On February 5, 2014, Bitzan sent thirteen separate kites, asking why information
       about cannabis is prohibited, if it is contained in information about publicly traded
       pharmaceutical companies that research medical marijuana, or serve cannabis
       dispensaries in states that have legalized the sale of marijuana. In various kites,
       Bitzan also asks whether inmates are prohibited from receiving any material that
       mentions marijuana; to be directed to any institutional rules relating to stock
       investments, stating that he cannot find any; states that he believes that inmates have
       due process and equal protection rights to unrestricted access to all public
       information; and requests a definition of "stock investment" and "business
       contract."



       2
         “O-mail” stands for “Offender e-mail,” the electronic system inmates use to
communicate with friends and family.
https://doc.iowa.gov/offender-information/corrlinks-offender-e-mail (last accessed May 30,
2017).

                                               6
     Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 7 of 22



     In these kites, as part of his informal grievance resolution, Bitzan requested "to be
     allowed to purchase stocks," and that he be allowed to give his opinion to his
     parents concerning stocks "without fear of being written up." He also asserted that
     there is no legitimate penological interest in denying inmates the ability to purchase
     stocks, or simply correspond with companies to gather information. (ECF 32-2, pp.
     100-103, 105-113).

     On February 10, 2014, a staff member (name illegible) responded on two of the
     kites, noting that the definition of "stock investment" and "business contract" was
     not elaborated upon, or spelled out in the policies. (ECF 32-2, pp. 104, 114).

2.   On February 6, 2014, a staff member responded to these kites, noting that: items
     legal in other states are not necessarily legal in Iowa; pursuant to ISP Policy AD
     FM 11, inmates are limited to savings accounts and are not allowed to make
     investments; and Policy IO-RD-03 defines contracts and other rule violations.
     Bitzan was advised that "further attempts at interrogatories may result in a minor
     report." (ECF 32-3, p. 106).

3.   On February 7 and 10, 2014, Bitzan sent five kites to the Warden and staff, noting
     that he had appeals pending for the Notices of Rejection dated February 6 and 7
     relating to incoming mail, for the three packets of photocopies of stock material sent
     from Zent. Bitzan states that this stock information was sent by Zent at his request,
     and that it all relates to legal companies approved for public trading by the SEC.
     Bitzan argues that there is no rational relationship to a governmental interest for
     denial of his receipt of information about stocks "just because it mentions
     cannabis." Bitzan asks that the material not be destroyed. On February 20, 2014,
     mail room staff Eaves responded: "appeal noted." (ECF 32-3 pp. 89-91)

4.   On February 8, 2014, Bitzan sent a kite to the Warden's Office as further
     discussion in support of his informal resolution and appeal of the rejection of his
     outgoing and incoming mail relating to stocks. (ECF 32-2, pp. 92-96). In this five
     page memo, he expanded upon his reasons for sending the letters to the companies,
     and the need to received photocopies of information about the companies from his
     mother. Bitzan responded to the reasons for rejecting the correspondence provided
     in the Notices of Rejection, and expanded upon the reason he needed information
     from and about a variety of companies:

     a.     To provide an accurate opinion to his mother and father including accurate
            detail on the basis which these companies operate, not to operate a business
            himself, or assist his parents in doing so;

                                           7
     Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 8 of 22



     b.     That material regarding companies that sell or are related to medical
            marijuana research or distribution should not be prohibited simply because
            it mentions cannabis, which by itself does not threaten the institutional order
            or security;
     c.     His plan for use of the information about the companies, whether received
            by mail from the companies directly, or indirectly through his mother, is so
            that he might provide his opinion to his mother and father about purchasing
            stock, with no expectation of anything in return. He denies that he has
            attempted to purchase anything, or send money anywhere;

5.   On February 13, 2014, Bitzan filed an Offender Grievance Complaint relating to
     the denial of incoming and outgoing mail relating to stock investment. (ECF 32-3
     pp. 98-99). Bitzan requested that he, personally, be allowed to purchase any stocks
     legally listed by the SEC and traded on the open market, and that he be allowed to
     give his parents his opinions concerning these stocks. Bitzan asserted his opinion
     that restrictions on his purchasing stocks, and maintaining the necessary financial
     accounts or relationship with a broker to effectuate this investment did not violate
     prison rules relating to entering in to contracts, conducting a business, or
     maintaining an approved savings account outside of ISP. Bitzan argued that since
     it is legal to purchase stock outside of prison, that ISP must allow this "product" to
     be made available for him to purchase while he is in prison. Bitzan requested that
     ISP provide him with a definition of "business contract."

     On February 27, 2014, ISP Investigator Dave DeGrange noted that Bitzan's
     Grievance had been received, and would be processed, with a disposition within 21
     days. (ECF 32-2 p 97). On February 28, 2014, DeGrange denied Bitzan's
     grievance, stating that the IDOC Rules #34 and #43 prohibit "this type of contract
     or business without the prior approval of the Warden."

6.   On February 15, 2014, Bitzan appealed to IDOC Asst. Dir. Bartruff, the Warden's
     decision on the appeal of the Notice of Rejection of outgoing mail directed to stock
     companies. It is not clear from the record when the Warden issued a formal, rather
     than informal, decision relating to the appeal on the outgoing mail.

     In this appeal, Bitzan stated that he was attempting to gather information so he
     could determine how to go about making investments. He asserted that there were
     no ISP rules restricting the collection of business information that was publicly
     available, and that the reason stated for rejecting the correspondence, as an "an
     attempt to violate institutional rules and involves subject matter that is illegal in
     Iowa" did not further a legitimate governmental interest. (ECF 32-3 pp 123-4).

                                           8
     Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 9 of 22



     On February 20, 2014, Sheryl Dahm responded to this appeal, stating that she had
     reviewed copies of Bitzan's outgoing correspondence (which he had provided with
     the appeal), and found that the Notice of Rejection of this outgoing mail was not in
     violation of his constitutional rights, as the IDOC Policy IO-OR-07 prohibits
     inmates from entering into contracts or agreements, incurring indebtedness, or
     engaging in business. (ECF 32-3, p.125).

7.   On February 23, 2014, Executive Officer Rebecca Bowker sent Bitzan an O-mail
     noting that she had reviewed his appeal regarding incoming correspondence from
     Zent (the photocopies of information about various companies). She stated that he
     was not allowed to purchase financial instruments "directly related to an illegal
     substance," and that further attempts to do so may subject him to discipline. No
     particular IDOC Policy was cited. (ECF 32-3 p.126).

8.   On February 26, 2014, Bitzan wrote to IDOC officials Bartruff and Dahm about the
     decision of the Warden relating to the incoming correspondence from Zent, which
     consisted of the three packets of photocopies of information about various
     companies. Bitzan requested clarification of any policy prohibiting him from
     receiving information about cannabis, or that contains the word cannabis. Bitzan
     stated that he was gathering information to provide an opinion to his mother and
     father about investing in certain companies. Bitzan requested that this mail be
     delivered to him. (ECF 32-3, p.127).

     On March 4, 20014, Dahm responded to this letter, and stated that after checking
     with counsel, she stood by the opinion provided to Bitzan on February 20, 2014,
     that correspondence about investing, or attempts to direct investments implicated
     the rules prohibiting inmates from engaging in businesses, forming contracts or
     incurring indebtedness. (ECF 32-3, p. 128).

9.   On March 7, 2014, Bitzan appealed to the Warden the denial of his grievances
     relating to his outgoing and incoming mail. In the appeal, Bitzan requested that his
     mother be allowed to act as his stock broker, so that he may order her to make
     stock trades. Bitzan stated that it is his opinion that ordering stock trades through
     a broker is not considered to be the conduct of business, based upon his
     interpretation of certain prisoner's rights cases. Bitzan requested "to be allowed to
     order his stock ‘broker’ to make trades, whether immediate in real time, or
     contingent on price changes." (ECF 32-3, pp. 116-117).

     In this grievance appeal, Bitzan further complained that prison officials actions in
     denying his incoming and outgoing mail, and threatening him with disciplinary

                                           9
      Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 10 of 22



       action regarding communications about stocks, for sending multiple kites pursuing
       this grievance, or preventing communication with his "broker," all violated his First
       Amendment rights, and deprived him of property, and violated his rights to due
       process.

10.    On March 19, 2014, ISP Executive Officer Rebecca Bowker provided Bitzan with
       the Warden Appeal Response to his grievance, denying his appeal as to the outgoing
       and incoming mail, because Bitzan's attempts to invest in stocks, directly or using
       his mother as a "broker," would require him to enter into contracts, and would
       require a method of payment for trades, both of which are disciplinary rule
       violations. She noted that inmates conducting the type of business transactions
       requested by Bitzan would impact the security and order of the institution. (ECF
       32-3, p.118- 119).

11.    On March 20, 2014, Bitzan filed an appeal of his grievance relating to the responses
       to his series of thirteen kites sent February 5, 2014. He asked to be allowed to order
       his stock broker to make trades, in real time or contingent on price changes, without
       being threatened with disciplinary action or retaliation for doing so. He requested
       that his mother act as his stockbroker. He noted that the appeal of his prior
       grievance was answered by Bowker, who he claimed was the subject of that
       grievance, and asked that someone else consider this appeal. (ECF 32-3 pp.
       120-212).

12.    On March 26, 2014, IDOC Asst. Deputy Director Sheryl Dahm denied this
       grievance appeal (ECF 32-3, p. 122), referring Bitzan to IDOC Policy IO-OR-07,
       Section II which states: "It is the policy of the IDOC that offenders are not
       permitted to enter into a contract/agreement, incur indebtedness, or start or engage
       in a business or profession." (ECF 32-2-74).

B.     Issues relating to incoming mail from Cassie Zent to Mark Bitzan
       Bitzan and Zent assert that their First Amendment rights have been violated because
correspondence from Zent to Bitzan was rejected on February 6, 2014 by Defendant
Phillips, ISP Mailroom staff. This correspondence consisted of three separate packets of
information, copies of internet searches regarding the companies; there was no personal
letter or information sent from Zent to Bitzan with the photocopies, although several of the
pages have handwritten notes on them. (Plaintiffs' Appendix Ex. 5-8, ECF 43-4, pp. 1-50,


                                             10
         Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 11 of 22



and 43-5, pp. 1-21). Some of this photocopied information related to the five companies
that Bitzan attempted to write to; these letters were rejected on February 3, 2014. As
Defendants did not respond to Plaintiffs' Statement of Facts, the Court finds that the
information contained in these exhibits was the information reviewed by ISP mailroom
staff.
          The three packets of information reviewed, and rejected, by mailroom staff were:
          Packet 1, consisting of photocopies of material printed from the Internet:
1.        Share Builder, no date, titled BMB Munai, Inc. (BMBM); $0.0065. There is a
          handwritten note listing an address for BMBM in Salt Lake City, UT, and stating
          "6 employees oil/energy."(ECF 43-3, p. 3).
2.        Share Builder, no date, MJNA Medical Marijuana, Inc.; $0.2585. a business
          description as "the first publicly held company vested in the medical marijuana and
          industrial hemp markets." (ECF 43-4, pp. 4 - 6).
3.        Undated Article about Medical Cannabis Payment Solutions Company (stock ticker
          symbol REFG), a "provider of integrated supply and distribution technology" that
          complies with requirements of states that have legalized medical marijuana. (ECF
          43-4, pp. 7-10).
4.        Undated Article about Medical Greens, a subsidiary of SK3 Group, Inc. a
          "healthcare logistics and fulfillment consultancy" for delivery of alternative
          medicine. (ECF 43-4, pp. 11-12); press release dated January 24, 2014 announcing
          Medical Greens provides "focused door-to-door deliver of medical marijuana
          products to dispensaries across the state of California." (ECF 43-4, p. 18).
5.        Undated Nuvilex Inc. Stock profile from Yahoo! Finance (stock ticker symbol
          NVLX); $0.14. (ECF 43-4, pp. 13-14).
6.        Undated Sionix Corp. profile from Yahoo! Finance and Share Builder (stock ticker
          symbol SINX); $0.0083. (ECF 43-4, pp. 15-16).
7.        Undated Share Builder profile for Telkonet, Inc. (stock ticker symbol TKOI).
          Contains a handwritten notation of address in Milwaukee, WI, and note
          "computer/office equip 99 employees." (ECF 43-4, p. 17).
8.        Undated article regarding Silver Bull Resources, Inc., "a well-funded Canadian
          based mineral exploration company." There is a handwritten note: Midway Gold
          Stock" on each page. Four pages (ECF 43-4, pp. 19-22).

          Packet 2, consisting of photocopies of material printed from the Internet:
1.        Undated stock profile from Yahoo! Finance and Stock Builder for SK3 Group, Inc.
          (Stock ticker symbol SKTO). $0.0279. (ECF 43-4, pp. 26-29).

                                              11
     Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 12 of 22



2.    Undated stock profile from Share Builder for Hooper Holmes, Inc. $0.5130. (ECF
      43-4, p. 31).
3.    Undated stock profile from Share Builder for Rapid Fire Marketing, Inc. (RFMK).
      $0.0016. There is a handwritten note: "Graph of 6 mos, graph is really light.' (ECF
      43-4, p.32).
4.    Undated stock profile from Share Builder for RF Micro Devices, Inc. (RFMD).
      $5.33. (ECF 43-4, p. 33).
5.    Undated stock profile from Share Builder for Midway Gold Corp. (MDW), $1.04.
      ECF 43-4, p. 34).
6.    Undated stock profile from Share Builder for Cannabis Science, Inc. (CBIS).
      $0.1790. There is a handwritten note: "Graph of 3 mos barely shows up."

       Packet 3, consisting of photocopies of material printed from the Internet:
1.    Undated Share Builder stock profile for Medical Marijuana, Inc. (MJNA), $0.3402.
      (ECFR 43-4, pp. 38-40).
2.    Undated report from businessweek.com for Bmb Munai, Inc (BMBM), $0.0075,
      stating that the company "does not have significant operations….[it] intends to
      identify and exploit new business opportunities. Previously, it was engaged in the
      exploration and production of natural gas properties in the Republic of Kazakhstan."
      (ECF 43-4, pp. 41-44).
3.    Undated reports from businessweek.com, and other sources for Telkonet, Inc.
      (TKOI), $0.26, stating that the company provides EcoSmart energy management
      technology and EthoStream high-speed internet access solutions. (ECF 43-4, pp.
      45-46).
4.    Undated Share Builder reports for Medical Cannabis Payment Solutions (REFG),
      $0.2300; $0.2112, $0.2300. (ECF 43-4, pp. 47-50).

       The Notice of Rejection of these three packets of Correspondence from Zent was
sent to Bitzan on February 6, 2014, and stated that the reason for the rejection was: "(I):
Item considered a threat to the institutional order and security, hand signs/gestures,
threatens harm to any person/property, or threats/plans criminal activity; (M): Other:
contents of cannabis not allowed." (ECF 32-3, pp. 86-88).
       As Defendants have not responded to Plaintiffs' Statement of Facts, the Court finds
that the material provided in Exhibit 8, which consists of copies of material from the
internet in 2017, is considered, without further foundation, in support of Plaintiffs'


                                            12
     Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 13 of 22



assertion that only two of the five letters Bitzan sent in 2014 were to companies connected
with cannabis. ISP did not reject the information contained in Exhibit 8, because it was not
mailed to Bitzan. Exhibit 8 consists of:
1.     Report dated January 26, 2017, from Sionix.com about Sionix Corporation; it states
       that the company designs innovative and advanced mobile water treatment systems.
       (ECF 43-5, p. 2).
2.     Report from AnnualReports.com dated January 26, 2017 about BMB Munai, Inc.,
       noting that it does not have copies of Form 10K available, and the last archived
       Annual Report for this company was 2009. It describes BMB as an independent oil
       and gas company. (ECF 43-5, p. 3).
3.     Undated report about Micron, a company with headquarters in Boise, ID described
       as a "global leader in the semiconductor industry." (ECF 43-5, pp. 4-5).
4.     Report dated January 26, 2017, about PharmaCyte Biotech, Inc., stating it provides
       "novel therapies for cancer and diabetes built upon a platform technology: cancer,
       diabetes, cannabinoids; " and a Press Release dated January 7, 2015 stating that
       Nuvilex announces name change to PharmaCyte Biotech" with stock ticker symbol
       PHCB. (ECF 43-5, pp. 6-9).
5.     Report dated January 26, 2017, from Nasdaq.com regarding RF Micro Devices,
       Inc. (RFMD), referencing the status as of 1997. (ECF 43-5, p. 10).
6.     Report dated January 26, 2017, from ir.telkonet.com, with statement dated January
       19, 2017: "Telkonet Launches EcoSmart VRF Controller, Maximizes Energy
       Efficiency for Multi-Room Buildings," and 2016 Q3 results. (ECF 43-5, pp. 11-
       13).
7.     Report dated January 26, 2017 from cannabisscience.com, with a "corporate
       overview" of Cannabis Science, Inc., stating its products are medical cannabinoid
       formulations, used to treat cancer and neurobehavioral disorders. (ECF 43-5, pp.
       14-18).
8.     Report dated January 26, 2017, from medicalmarijuana.com, with stock
       information, and a letter from the CEO, noting that the company was established
       in 2009, with a goal to deliver high-quality, health-focused cannabinoid oil products
       /hemp to families all over the world. (ECF 43-5, pp. 19-21).

C.     Issues related to stock trading information received by inmates
       In late 2014, Zent paid for a subscription to the Wall Street Journal for Bitzan,
which he received at ISP. Bitzan submitted a copy of a December 30, 2014 issue of the
Wall Street Journal with a mailing label to him affixed, addressed to him at ISP. (ECF


                                            13
     Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 14 of 22



43-5-24).
       The Plaintiffs submitted a copy of an article published in 2015 about an inmate in
a San Quentin, California prison, who serves as an "informal" financial advisor to fellow
inmates and correctional officers. The article reports that he offers a class within the
prison, with outside professionals, teaching financial management in a group called
Freeman Capital. The article reports that this inmate relies upon newspapers, and calls to
family to check stock prices, and he directs them to make purchases of specific stocks. The
article does not disclose who owns the stock or is able to complete the trades. (ECF 43-5
pp. 29-32).
       Bitzan appealed a Notice of Rejection of mail from Zent, that included a W9 form
on September 20, 2016. In October 2016, Bitzan advised Bowker that he needed to update
his information with National Financial Services, LLC, with a W9 form, so that the
company can report assets to the IRS. Bowker asked Bitzan what account this might be
in reference to, and Bitzen stated that it related to "properly file taxes and report assets to
the government." (ECF 43-6, p.7). The record is silent as to what the response was in
relation to Bitzan's appeal, or this exchange between Bitzan and Bowker.
       On January 6, 2017, Bitzan directed the Accounting Office of ISP to send a check
for $500 to National Financial Services, % Heartland Investment Associates, in Hiawatha,
IA, and the check was sent (ECF 43-5, p. 35). This check was returned to him by Edward
Luebe, Executive Vice President/CFO, with a letter noting that they would not open an
account for him, because he could not be contacted by telephone. In this letter of January
10, 2017, Mr. Luebe stated: "I do currently work with another person at Ft. Madison, but
it was an account that I inherited from another representative." Plaintiffs do not identify
what type of investment account may be held by another inmate at ISP, if that is the
account Luebe is referencing, or whether this inmate has the Warden's permission to have
such an account. (ECF 43-5, p. 34).
       Plaintiffs submitted an affidavit from ISP inmate Gary Buck, who states that in

                                              14
       Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 15 of 22



2000-2002, while he was an inmate at ISP he invested in a Van Kampen mutual fund. He
stated that he sold his interest in the fund, and no longer invests. He does not provide any
information about other inmates who have been allowed to invest recently. (ECF 43-3, p.
16).
D.      Issues related to discussions between Bitzan and ISP staff on investing in stocks
        On February 7, 2017, Bowker placed a "Generic Note" in Bitzan's ISP file,
providing him with a copy, for the purpose of notifying him that he should cease all
attempts to purchase securities or pursue other forms of investment, as that is against ISP
rules. She cited AD FM 11 (not part of the record) for authority that "an offender is
allowed a savings account only." (ECF 43-6. P. 5).
        Between September 9, 2016 and February 7, 2017, Bitzan and Bowker exchanged
messages through ISP's O-mail system. Bitzen wanted a response from someone other
than Bowker on: 1) the issue of attempts to purchase securities; 2) the status of his appeals;
and 3) his complaint that Bowker was retaliating against him due to his prior lawsuits, her
status as a Defendant in this case, and his attempt to amend the Complaint in the instant
action to include his attempts to secure information for stock purchases.
        In an O-mail message to the Warden on February 3, 2017, Bitzan stated that he
wants to know the basis for the policy that prohibits him from purchasing
stocks/bonds/annuities, inquiring as to whether the Warden is opposed to "inmates being
responsible, learning and expanding their knowledge and skills to greatly assist them in life
or their release from prison by saving money in stocks and bonds either through an
investor or directly."
E.      Other instances of alleged interference with Zent's mail sent to Bitzan
The additional issues relating to Zent's mail to Bitzen are raised in the Amended
Complaint:
1.      Denial of copy of the book, The Rights of Prisoners, 4th Ed., Vol. 2, ordered at a
        cost of $75.00, by Zent for Bitzen through Amazon.com on February 28, 2014.


                                             15
     Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 16 of 22



      However, as the order was not placed with the publisher, a used copy from a
      third-party vendor was sent. Because it was not shipped from the publisher, ISP
      would not allow it to be delivered to Bitzan. It was not returned to Zent. Zent
      also asserts that as a result of ISP denying delivery of this book, she spent money
      to copy pages from it, and sent copies of this material to Bitzan, who did receive
      these copies. Neither party provided a copy of a Notice of Rejection of
      Correspondence relating to this book. In the Amended Complaint (ECF 8 at &7),
      Zent asserts that she purchased the four volume set of this publication directly from
      the publisher at a cost of $602; this was delivered to Bitzan in March 2014.
2.    Loss or failure to deliver Spanish: Stage 1 and Stage 2 Collins Easy Learning Audio
      Course, contained on books and CDs, which Zent purchased for Bitzan on
      Amazon.com on February 5, 2016. (ECF 43-6, pp. 24-25). According to Zent,
      Bitzan received a Notice of Rejection of Correspondence, which he appealed. There
      are no copies of this Notice in the record. On May 6, 2016, Zent asked Defendant
      Bowker by email to investigate why Bitzan was not allowed to have this material,
      as he was allowed to have music CDs. Zent said that ISP retained the books and
      CDs while they considered the appeal, and that Bitzan asked for the material to be
      returned to her, so she could get a refund. Zent states that she could no longer
      return the material, as too much time had passed since the purchase date. Bowker
      responded that she would look into this issue. The record is silent as to whether
      there was a resolution of this issue.
3.    Rejection of 45 pages of photocopies of baseball cards, sent by Zent to Bitzen ,
      which were received by the prison on April 29, 2016. Bitzen received a Notice of
      Rejection of this Correspondence on May 3, 2016, with the reason for rejection
      stated as based upon security concerns (ECF 43-6, pp. 26-27). Neither party
      provided a copy of the Notice of Rejection of Correspondence for this item.

      On May 6, 2016, Zent wrote to Bowker, stating that she was providing copies of
these cards to Bitzan for his opinion as to their value, or "other information I need." On
May 9, 2016, Bowker, in response to Zent's inquiry as to why this material was rejected,
stated that trading cards are not allowed due to security concerns regarding bartering for
items and trading items amongst inmates, and that she assumed that is why copies were
denied. Zent asserted that there was no legitimate government interest in restricting
inmate's possession of actual trading cards, or copies of trading cards.
F.    Relevant IDOC and ISP policies and regulations
      The following IDOC regulations apply to inmates residing at ISP. Plaintiffs allege

                                           16
     Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 17 of 22



that Defendants Baldwin and Bartruff, as Directors of IDOC, are responsible for violations
of their First Amendment rights, as they have approved of these policies.
       In their discussions with Bitzan regarding rejection of correspondence, Defendants
referenced Policy AD-FM-11 but did not provide a copy for the record. In the Amended
Complaint, Plaintiffs challenge IDOC Policy OP-MTV-02 but no copy of this policy was
provided for the record.
       Copies of the following policies were provided by Defendants as attachments to
Exhibit C, Warden Ludwick's affidavit; the specific sections of these policies that
applicable to Plaintiffs' claims are:
1.     IDOC Policy OP-MTV-01: Mail, Telephone and Visiting (ECF 32-3, pp. 9-18).
       This policy provides that non-confidential mail may be read. It also prohibits
       correspondence that includes social security numbers or bank account numbers of
       a third person. It notes that misuse of the mail may result in discipline. It requires
       that all incoming mail must be sent directly from the person who writes the
       correspondence.
2.     IDOC Policy IO-RD-03: Major Discipline Reports and Procedures (ECF 32-3, pp.
       19-73). This policy describes actions that can result in disciplinary reports. It
       defines a security issue as any act that has the potential to cause significant
       disruption to the operation of the institution, affect the peace and tranquility of the
       institution or creates a danger to the public, staff or others. The rules are listed by
       number; major infractions include violations of the following rules:
               16: Unauthorized Possession/Exchange, Contraband, including when an
               offender possesses forms of securities, bonds, coins, currency, legal tender,
               official papers, or documents.
               33: Bartering, selling goods and services: offender is in violation of laws,
               rules, or policies regarding transfer or ownership of property; or offender
               agrees to perform or receives services, including legal work, for anything of
               value or in return for services.
               34: Entering into Contracts/Agreements, Operating Businesses: offender
               enters into a contract, unauthorized agreement, or engages in a business
               without the prior written approval of the Warden/Superintendent.
               40: Misuse of O-Mail, telephone or other communications: offender fails to
               follow institutional procedures or regulations or instructions (written or
               verbal), or includes coded messages or symbols in any communication.
               43: Attempt/complicity: offender attempts any disciplinary offense or is


                                             17
      Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 18 of 22



              complicit with others who are committing or attempting to commit any rule
              violation.
3.     IDOC Policy IO-OR-07: Offender Businesses: offenders are not permitted to enter
       into a contract/agreement, incur indebtedness, or start or engage in a business or
       profession. (ECF 32-3, pp. 74-75).

       In Warden Ludwick's affidavit submitted in support of the Motion for Summary
Judgment (ECF 32-3, pp. 6-8) he states that these rules exist and are enforced to maintain
the safety, security and orderly operation of the prison. The Warden states that allowing
inmates to conduct businesses, hold securities, or trade stock is prohibited due to security
concerns, the inability to adequately supervise inmates if they were to be able to exercise
control over financial accounts or instruments, concerns regarding other inmates'
involvement with a business operation, or the ability of financial instruments or anything
that could be used to barter to interfere with prison operations. The Warden notes that
prisoners are expected to follow the institutional schedule, including attending work or
treatment programming, or maintaining their housing status. Ludwick noted that
restrictions on inmate financial accounts are in place to protect the public, including having
funds for restitution payments an inmate may be required to make, and that the policies
prohibit accounts other than a savings account at ISP. Ludwick expressed the opinion that
any discussion of marijuana distribution by inmates, or correspondence on this topic, was
counterproductive to the goals of the institution relating to security and order, as many
inmates are serving sentences for marijuana distribution, and it would be disruptive to have
material about marijuana manufacturing or distribution in Iowa, where that is not a legal
occupation.
IV.    DISCUSSION
       While Defendants’ prohibitions potentially implicate Zent’s First Amendment rights,
"the person with the primary stake in the deprivations caused by imprisonment is the
prisoner himself, and he rather than his relative is the proper party to complain about those
deprivations." Mayo v. Lane, 867 F.2d 374, 376 (7th Cir. 1989). The Court in Navin v.

                                             18
     Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 19 of 22



Iowa Dep't of Corr., 843 F. Supp. 500, 503-04 (N.D. Iowa 1994), considered whether an
inmate and his daughter could bring suit against prison officials after they refused to allow
visits. The Court ruled that "[a]lthough the court is disturbed by the adverse effects [the
inmate] has alleged are being suffered by his daughter, the claims brought here on behalf
of both [the daughter] and [the inmate] may properly be brought only by [the inmate]." Id.
(relying on Mayo). Even if Zent’s interest is the same as Bitzan’s, however, Defendants
are entitled to summary judgment.
A.     Mail
       Prison regulations that impinge on an inmate’s First Amendment rights must be
“reasonably related to legitimate penological interests” based on the four factors set out
in Turner v. Safley, 482 U.S.78, 89 (1987). Because Turner applies to incoming and
outgoing mail, Zent’s mail to Bitzan must comply with the same prison regulations;
restrictions on her mail are not subject to lesser scrutiny. See Yang v. Miss. Dep’t of Corr.,
833 F.3d 890, 894 (8th Cir. 2016) (applying the Turner test to incoming and outgoing
inmate mail) (citing Ortiz v. Fort Dodge Correctional Facility, 368 F.3d 1024, 1026 & n.2
(8th Cir. 2004)). Applying Turner, the record in this case demonstrates there is a valid,
rational relationship between IDOC policies restricting incoming and outgoing mail, along
with prohibitions on inmates' conducting businesses transactions, making contracts or
holding financial accounts outside of the prison, and the governmental interest in security
and order in prison, the Court has applied the four factors of the Turner test. Bitzan, as
an inmate, has alternatives such as placing his business interests in the hands of others
while he is serving his sentence. There is no way that the institution staff can oversee his
management of a stock investment portfolio. The fact that another prison, in a state 2,000
miles away offers inmates this opportunity does not provide the basis for finding that this
activity by inmates in Iowa does not pose a security risk to the institution. It is the
Warden's opinion that discussion within ISP of medical marijuana, companies that legally
distribute marijuana, or research into medical applications for cannabis, would interfere

                                             19
     Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 20 of 22



with the order and security of ISP might be disruptive, interfere with treatment, or provide
security risks. It is not the court's job to substitute its opinion for reasonable decisions of
the Warden on issues relating to security or institution order. Defendants are entitled to
judgment as a matter of law on the First Amendment claims.
B.     Due process
       As for the due process claim, inmates have an interest, grounded in the First
Amendment, to uncensored communication by mail, and when a prison official censors or
withholds delivery of an inmate’s mail, the prison must provide the inmate with notice of
the rejection of the letter, opportunity to protest the action, and opportunity to appeal the
decision to a prison official who was not involved in the censorship decision. Procunier
v. Martinez, 416 U.S. 396, 418–19. (1974), overruled on other grounds by Thornburgh
v. Abbott, 490 U.S. 401 (1989); Bonner v. Outlaw, 552 F.3d 673, 680 (8th Cir. 2009)
(recognizing “inmates have a due process right to notice whenever correspondence
addressed to them is rejected”); Murphy v. Missouri Dept. of Corrections, 814 F.2d 1252,
1257–58 (8th Cir. 1987). The notice of rejection of Bitzan's incoming mail on a form
indicating it "contained cannabis," was not clear that the basis for the rejection was not that
it contained actual cannabis, but that it contained references to the legal manufacture and
distribution of marijuana. However, in the context of all of the communications between
Bitzan and ISP staff, including defendants, it was clear at the time that the basis for
rejection of Zent's mail containing photocopies of information about companies, some of
which describe medical marijuana research or distribution was that this information related
to Bitzan's attempts to purchase stocks either directly, or through his mother. The prison
regulations are very clear that inmates cannot maintain businesses or enter into contracts,
or incur debt without permission of the Warden. Both Plaintiffs disagree with the need for
such regulations, but they understood they were in violation of the institutional rules. They
were afforded adequate due process in the rejection of outgoing and incoming mail relating
to investment in companies. Defendants are entitled to summary judgment on the due

                                              20
     Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 21 of 22



process claim.
C.     Retaliation
       Defendants are also entitled to summary judgment on the retaliation claim. The
adverse action taken in retaliation must "chill a person of ordinary firmness from
continuing in the activity." Santiago v. Blair, 707 F.3d 984, 992 (8th Cir. 2013). Although
causation in a claim of retaliation is usually a question of fact for the jury, there is no
direct or indirect evidence in the record from which a reasonable jury could find a causal
connection between the protected activity and the officials’ adverse action. See Sanders v.
Hobbs, 773 F.3d 186, 190 (8th Cir. 2014); Meuir v. Green Cty. Jail Emps., 487 F.3d
1115, 1119 (8th Cir. 2007) (elements for prima facie retaliation case include: exercise of
constitutionally protected right, discipline, and exercise of the right motivated the
discipline). Bitzan and Zent claim that following rejection of mail relating to companies
for stock investments, Bitzan was threatened with disciplinary reports. He was, but these
were cautions about his future activity in persisting to make attempts to invest, either
directly or through his mother, and were based upon prison officials' justifiable
interpretation of the rules prohibiting conducting businesses, entering into contracts and
incurring debt. Additionally, after nearly 20 kites and other communications to staff while
his appeal of rejection of outgoing mail was pending, officers advised Bitzan to stop
sending interrogatories in relation to the appeal, as those were not allowed, and were
considered a misuse of the prison mail, another rule violation. Bitzan was never given a
disciplinary report following either caution. There is no evidence that supports his claim
of retaliation. Assuming she has standing, Zent's claim of retaliation is based upon failure
to return a Spanish language CD and book set, after it was rejected, and failure to deliver
copies of sport trading cards, along with refusal to allow delivery of a book from a source
other than the publisher. The prison's reason for rejecting the copies of trading cards and
book are reasonably related to legitimate penological interests of security and safety. It
is not clear from the record why the Spanish CDs and books were not delivered to Bitzan,

                                            21
      Case 4:15-cv-00219-JAJ-CFB Document 44 Filed 05/31/17 Page 22 of 22



or not returned to the publisher or Zent. Based upon this record, this instance of rejected
mail is not sufficient to establish retaliation against Zent for her exercise of First
Amendment rights in communication with Bitzan about stocks.
D.     Defendants’ other arguments
       Because Defendants are entitled to summary judgment on the merits of Plaintiff’s
claims, they are also entitled to qualified immunity on his claims. See Pearson v.
Callahan, 555 U.S. 223, 231 (2009) (qualified immunity protects prison officials “‘from
liability for civil damages insofar as their conduct does not violate clearly established
statutory or constitutional rights of which a reasonable person would have known.’”)
(quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)); Malley v. Briggs, 475 U.S.
335, 341 (1986) (qualified immunity protects “all but the plainly incompetent or those who
knowingly violate the law”). Turning to the requested relief, although Zent is not subject
to the restrictions in 42 U.S.C. § 1997e(e), but she is not entitled to damages as there was
no violation of her constitutional rights. Bitzan’s claim for compensatory damages is
barred by § 1997e(e) because he makes no prior showing of physical injury. Contrary to
Bitzan’s suggestion, incarceration is not a physical injury but rather it is a prerequisite to
the application of § 1997e(e). Because Defendants are entitled to summary judgment, it
is unnecessary to address Defendants’ remaining arguments.
IV.    RULINGS
       Defendants’ motion for summary judgment is granted (Dkt. #32). This case is
dismissed with prejudice.
       IT IS SO ORDERED.
       DATED this 31st day of May, 2017.




                                             22
